            Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 1 of 14




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


   VIRGINIA WEIDERMAN,
                                                       Civil Action No.
                       Plaintiff,
                                                       COMPLAINT FOR VIOLATIONS
       v.                                              OF THE FEDERAL SECURITIES
                                                       LAWS


                                                       JURY TRIAL DEMANDED
   CANCER GENETICS, INC.,
   GEOFFREY HARRIS, EDMUND
   CANNON, HOWARD MCLEOD, and
   FRANKLYN G. PRENDERHAST,



                       Defendants.



       Plaintiff Virginia Weiderman (“Plaintiff”) by and through her undersigned attorneys,

brings this action on behalf of herself, and alleges the following based upon personal knowledge

as to those allegations concerning Plaintiff and, as to all other matters, upon the investigation of

counsel, which includes, without limitation: (a) review and analysis of public filings made by

CGI, Inc. (“CGI” or the “Company”) and other related parties and non-parties with the United

States Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases

and other publications disseminated by certain of the Defendants (defined below) and other

related non-parties; (c) review of news articles, shareholder communications, and postings on the

Company’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning CGI and the Defendants.
            Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 2 of 14




                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against CGI and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed reverse merger of the Company with

StemoniX, Inc. (“StemoniX”) (the “Proposed Transaction”).

       2.       On August 21, 2020, the Company entered into an Agreement and Plan of Merger

(the “Merger Agreement”) with StemoniX. Pursuant to the terms of the Merger Agreement the

shareholders of StemoniX are expected to become the majority owners of CGI’s outstanding

common stock upon the closing of the merger. As such, following the merger, the former

StemoniX shareholders are expected to hold approximately 78% of the outstanding shares of

CGI Common Stock, and stockholders of CGI will retain ownership of approximately 22% of

the Deemed Outstanding Shares (as defined in the Registration Statement). This equates to an

Exchange Ratio of approximately 0.5541 shares of CGI common stock per one share of

StemoniX common stock (the “Exchange Ratio”).

       3.       On October 16, 2020, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading registration statement with the SEC on Form S-4 (the “Registration Statement”), in

violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

CGI and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-

9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to CGI




                                                  2
             Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 3 of 14




shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.

                                  JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                           THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, the owner of CGI shares.

        9.       Defendant CGI is incorporated under the laws of Delaware and has its principal

executive offices located at 201 Route 17 North, 2nd Floor, Rutherford, NJ 07070.                    The

Company’s common stock trades on the NASDAQ under the symbol “CGIX.”

        10.      Defendant Geoffrey Harris (“Harris”) is and has been a director of CGI at all

times during the relevant time period.




                                                   3
         Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 4 of 14




       11.     Defendant Edmund Cannon (“Cannon”) is and has been a director of CGI at all

times during the relevant time period.

       12.     Defendant Howard McLeod (“McLeod”) is and has been a director of CGI at all

times during the relevant time period.

       13.     Defendant Franklyn G. Prenderhast (“Prenderhast”) is and has been a director of

CGI at all times during the relevant time period.

       14.     Defendants Roberts, Harris, Cannon, McLeod, and Prenderhast are collectively

referred to herein as the “Individual Defendants.”

       15.     The Individual Defendants, along with Defendant CGI, are collectively referred to

herein as “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

                                 Background of the Company

       16.     CGI supports the efforts of the biotechnology and pharmaceutical industries to

develop innovative new drug therapies. CGI has an extensive set of anti-tumor referenced data

based on predictive xenograft and syngeneic tumor models from the acquisition of vivoPharm,

Pty Ltd. (“vivoPharm”) in 2017, to provide Discovery Services such as contract research

services, focused primarily on unique specialized studies to guide drug discovery and

development programs in the oncology and immuno-oncology fields. vivoPharm is a contract

research organization (“CRO”) that specializes in planning and conducting unique, specialized

studies to guide drug discovery and development programs with a concentration in oncology and

immuno-oncology. These studies range from early compound selection to developing

comprehensive sets of in vitro and in vivo data, as needed for FDA Investigational New Drug

(“IND”) applications.




                                                    4
          Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 5 of 14




       17.     CGI offers preclinical services such as predictive tumor models, human

orthotopic xenografts and syngeneic immuno-oncology relevant tumor models in its Hershey, PA

facility, and is a leader in the field of immuno-oncology preclinical services in the United States.

This service is supplemented with GLP toxicology and extended bioanalytical services in the

CGI’s Australian-based facilities in Clayton, Victoria, and Gilles Plains, South Australia

(effective in February 2020).

                     The Company Announces the Proposed Transaction

       18.     On August 24, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


       RUTHERFORD, NJ and MAPLE GROVE, MN, Aug. 24, 2020 (GLOBE
       NEWSWIRE) -- Cancer Genetics, Inc. (the “Company”) (Nasdaq: CGIX), and
       StemoniX, Inc., today announced the entry into a definitive merger agreement.
       Cancer Genetics is a leader in drug discovery and preclinical oncology and
       immuno-oncology services. StemoniX, a private company, is a leader in
       developing high-throughput disease-specific human organoid platforms integrated
       with leading-edge data science technologies. Under the terms of the merger
       agreement, StemoniX will merge with a newly formed subsidiary of Cancer
       Genetics in an all-equity transaction. Upon shareholder approval, the combined
       company expects to remain listed on the Nasdaq Stock Market. StemoniX will
       retain its name and become a wholly-owned subsidiary of Cancer Genetics.

       The transaction will position the combined company to harness the synergies
       between two critical modalities of drug discovery and development - advanced
       animal models and relevant human high-throughput organoid platforms. The
       resulting integration of scientific and technology-based expertise, skilled
       management teams, and ability to offer customers an end-to-end platform will de-
       risk and accelerate development of preclinical and clinical pipelines for
       biopharma partners as well as for the proprietary pipeline of the combined
       company. In combination, Cancer Genetics and StemoniX currently enjoy
       partnerships and R&D relationships with dozens of global pharmaceutical and
       biotechnology companies.

       "The process of discovering and developing a new drug candidate takes years and
       comes with a price tag of hundreds of millions - or even billions - of dollars.
       However, we are at unique time in the drug discovery industry as the convergence
       of technological innovations in both biology and software will transform



                                                 5
  Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 6 of 14




conventional workflows in time and accuracy. To convert the time-consuming
and labor-intensive process of developing a drug for market, we now look to
supplement traditional discovery and drug approval mechanisms to include
humanized cell-based assays with artificial intelligence (AI) along with our
core vivoPharm business. Given that our strategy and approach are strongly
aligned with those of StemoniX, we are pleased to have moved forward with this
proposed transaction," stated Jay Roberts, Chief Executive Officer of Cancer
Genetics.

“The pharma industry and society are at a critical pivot point. Viral pandemics
and diseases lacking treatments require a new way of innovation. The proposed
merger expects to expand our ability to engage with a larger audience of potential
partners and expand our internal capabilities as we deliver on our mission to
rapidly discover the safest and most effective therapeutics on behalf of our
partners and our shareholders. The mission will stay consistent - allow scientists
to quickly and economically conduct high-throughput toxicity and drug
development studies in ready-to-assay plates containing functional
microOrgans®,” stated Ping Yeh, Chief Executive Officer of StemoniX.

ABOUT THE TRANSACTION

Pursuant to the merger agreement, Cancer Genetics will acquire all of the
outstanding capital stock of StemoniX in exchange for a number of shares of its
common stock which will represent approximately 78% of the outstanding
common stock of Cancer Genetics, subject to certain adjustments and prior to the
effects of the financing referred to below, with the current equity holders of
Cancer Genetics retaining 22% of the common stock immediately following the
consummation of the merger.

The Boards of Directors of both companies have approved the proposed merger,
which is expected to close in the fourth quarter of 2020, subject to the approval of
the shareholders of both Cancer Genetics and StemoniX, financing and other
customary closing conditions.

H.C. Wainwright & Co. is acting as financial advisors to the Board of Directors of
Cancer Genetics, and Lowenstein Sandler is acting as its legal counsel. Northland
Securities, Inc. is acting as financial advisor to the Board of Directors of
StemoniX and Taft, Stettinius & Hollister is acting as its legal counsel.




                                         6
          Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 7 of 14




                   FALSE AND MISLEADING STATEMENTS
        AND/OR MATERIAL OMISSIONS IN THE REGISTRATION STATEMENT

        19.   On October 16, 2020, the Company authorized the filing of the Registration

Statement with the SEC.       The Registration Statement recommends that the Company’s

shareholders vote in favor of the Proposed Transaction.

        20.   Defendants were obligated to carefully review the Registration Statement prior to

its filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Registration Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                  Material False and Misleading Statements or Material
               Misrepresentations or Omissions Regarding the Sales Process

        21.   The Registration Statement contains information concerning the sales process

leading up to the Proposed Transaction, but fails to disclose material information concerning

such.

        22.   The Registration Statement notes that the Company entered into several

confidentiality agreements with potential suitors. However, the Registration Statement fails to

disclose the terms of the confidentiality agreements, including whether any of the agreements

contained standstill provisions with “don’t ask, don’t waive” provisions that would precluding

interested parties from making superior offers for the Company.

        23.   The Registration Statement also notes that the Company received indications of

interest from other potential suitors. However, the Registration Statement fails to adequately




                                                7
          Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 8 of 14




disclose the terms and values of all indications if interest and proposals between CGI and other

potentially interested parties.

        24.     Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction, as a reasonable shareholder would want to know information concerning other

potential buyers.

                 Material False and Misleading Statements or Material
    Misrepresentations or Omissions Regarding the Financial Projections and Analyses

        25.     The Registration Statement entirely omits any projections prepared by the

Company’s or StemoniX’s management concerning the Proposed Transaction as well as any

fairness opinion and financial analyses.

        26.     Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction. Specifically, the disclosure of the such projected financial projections and analyses

is material because it would provide the Company’s shareholders with an objective basis to

project the Company’s and the combined company’s future financial performance, as well as

assess the fairness of the deal.

                     Material False and Misleading Statements or Material
                    Misrepresentations or Omissions Regarding Wainwright

        27.     The Registration Statement omits material information concerning potential

conflicts of interest involving the Company’s financial advisor, H.C. Wainwright & Co.

(“Wainwright”).

        28.     Specifially, the Registration Statement fails to disclose: (i) the compensation

Wainwright has received or expects to receive in connection with its engagement; (ii) the amount




                                                 8
            Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 9 of 14




of compensation that is contingent upon the consummation of the Proposed Transaction; and (iii)

whether Wainwright has performed any past services for any parties to the Merger Agreement,

including the timing and nature of such services and the amount of compensation received for

such.

          29.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                              COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          30.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          31.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          32.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any



                                                     9
         Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 10 of 14




material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

       33.     Defendants have issued the Registration Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement, which fails to provide critical

information regarding, among other things, the financial projections for the Company.

       34.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Registration Statement, but nonetheless failed to obtain and disclose such

information to shareholders although they could have done so without extraordinary effort.

       35.     The Defendants knew or were negligent in not knowing that the Registration

Statement is materially misleading and omits material facts that are necessary to render it not

misleading. The Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Transaction.

       36.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and

misleading. Indeed, the Defendants were required to be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was




                                               10
           Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 11 of 14




disseminated, to corroborate that there are no material misstatements or omissions.

          37.   The Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement. The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed,

the Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement and the preparation of the Company’s financial projections.

          38.   The misrepresentations and omissions in the Registration Statement are material

to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          39.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          40.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          41.   The Individual Defendants acted as controlling persons of CGI within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of CGI, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in



                                                  11
         Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 12 of 14




the Registration Statement filed with the SEC, they had the power to influence and control and

did influence and control, directly or indirectly, the decision making of the Company, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

       42.     Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

       43.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Registration Statement at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       44.     In addition, as set forth in the Registration Statement sets forth at length and

described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Registration Statement purports to describe the various

issues and information that the Individual Defendants reviewed and considered. The Individual

Defendants participated in drafting and/or gave their input on the content of those descriptions.

       45.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       46.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by




                                                12
         Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 13 of 14




their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       47.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the

Registration Statement that does not contain any untrue statements of material fact and that states

all material facts required in it or necessary to make the statements contained therein not

misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: December 1, 2020                                        Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz



                                                 13
Case 1:20-cv-10065-JPO Document 1 Filed 12/01/20 Page 14 of 14




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                              14
